
43 So.3d 850 (2010)
F.J., Mother of T.R., N.R., A.R., and A.R., etc., Appellant,
v.
DEPARTMENT OF CHILDREN AND FAMILIES, Appellee.
No. 5D10-283.
District Court of Appeal of Florida, Fifth District.
August 31, 2010.
Rehearing Denied September 22, 2010.
F.J., Orlando, pro se.
Kelly A. Swartz, of Children's Legal Services, Rockledge, for Appellee.
PER CURIAM.
AFFIRMED. See Florida Rule of Juvenile Procedure 8.270(b)(3) (2009) (providing that a "court may relieve a party ... from an order, judgment, or proceeding" based on, inter alia, "[f]raud ..., misrepresentation, or other misconduct of any other party" only if the party moves for such relief "not more than 1 year after the judgment, order, or proceeding was taken.").
LAWSON, EVANDER and COHEN, JJ., concur.
